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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 WATCHY TECHNOLOGY                          :
 PRIVATE LIMITED,                           :
                                            :
                            Plaintiff,      :
                                                       C.A. No. 23-462 (CFC)
                                            :
              v.                            :
                                            :
                                                   JURY TRIAL DEMANDED
 DEJERO INC. and DEJERO LABS                :
 INC.,                                      :
                                            :
                            Defendants.     :

               PLAINTIFF’S STATEMENT REGARDING
        THIRD-PARTY LITIGATION FUNDING ARRANGEMENTS

      Pursuant to this Court’s Standing Order Regarding Third-Party Litigation

Funding Arrangements, Plaintiff, Watchy Technology Private Limited (“Plaintiff”),

hereby respectfully states that the sole Third-Party Funder for Plaintiff is Patent

Asset Management Advisors, LLC (“PAMA”), a Florida limited liability company,

with an address of 1 East Broward Boulevard, Suite 700, Fort Lauderdale, Florida

33301. The approval of PAMA is not necessary for litigation or settlement decisions

in this action. The nature of the financial interest of PAMA is a split of any recoveries

with Plaintiff.
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Dated: May 26, 2023                Respectfully submitted,

                                   /s/ John C. Phillips, Jr.
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                                   Attorneys for Plaintiff,
                                   Watchy Technology Private Limited




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                         CERTIFICATE OF SERVICE

      I, John C. Phillips, Jr., hereby certify that on May 26, 2023, a copy of the
foregoing document was caused to be served upon the following via electronic
means:

Robert Greeson
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                                                    /s/ John C. Phillips, Jr.
                                                    John C. Phillips, Jr. (#110)




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